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 4
     Attorney for Defendant, VICTORIANO PACHECO
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 6
 7                 IN THE UNITED STATES DISTRICT COURT FOR THE
 8                         EASTERN DISTRICT OF CALIFORNIA
 9
10   UNITED STATES OF AMERICA,   )               CASE NO. 1:11-CR-00376 DLB
                                 )
11         Plaintiff,            )
                                 )               STIPULATION AND
12       v.                      )               ORDER TO CONTINUE
                                 )               STATUS CONFERENCE
13   VICTORIANO PACHECO,         )
                                 )
14          Defendant.           )
     ____________________________)
15
           The parties hereto, by and through their respective attorneys, stipulate and
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     agree that the status conference calendared for October 22, 2012, be continued
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     to November 13, 2012 at 1:00 p.m.
18
           The continuance is necessary as several of the defendants, including Mr.
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     Bazante-Pacheco, submitted handwriting exemplars. Analysis of the samples will
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     not be completed for another two to three weeks. Also, Mr. Shrayberman is
21
     unavailable due to the fact that he is presently involved in a jury trial which is
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     anticipated to last into early December. The remaining defendants are in
23
     settlement discussions with the government.
24
           The parties also agree that any delay resulting from this continuance shall
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     be excluded in the interest of justice pursuant to 18 U.S.C. §§3161(h)(1)(F),
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     3161(h)(8)(A) and 3161(h)(8)(B)(I).
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 1   DATED: October 18, 2012              /s/ Kimberly Sanchez
                                          Assistant United States Attorney
 2                                        This was agreed to by Ms. Sanchez
                                          via email on September 17, 2012
 3
 4   DATED: October 18, 2012              /s/ Roger K. Litman __
                                          ROGER K. LITMAN
 5                                        Attorney for Defendant
                                          VICTORIANO PACHECO
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 7            IT IS SO ORDERED.
 8            Dated:   October 19, 2012               /s/ Dennis L. Beck
     3b142a                                   UNITED STATES MAGISTRATE JUDGE
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